 Case 1:23-cr-00010-LMB Document 28 Filed 04/18/23 Page 1 of 10 PageID# 122




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             EASTERN DISTRICT OF VIRGINIA

                                       Alexandria Division

 UNITED STATES OF AMERICA

                v.                                       Criminal No. 1:23-cr-10

 FRANCIS FORD,                                           The Honorable Leonie M. Brinkema

                Defendant.                               Sentencing: April 25, 2023


                             POSITION OF THE UNITED STATES
                              WITH RESPECT TO SENTENCING

       The defendant, Francis Ford (“Ford”), comes before the Court for sentencing after having

entered a pre-indictment plea to a two-count criminal information charging him with Conspiracy

to Commit Hobbs Act Robbery, in violation of 18 U.S.C. § 1951(a), and Hobbs Act Robbery, in

violation of 18 U.S.C. §§ 1951(a) and 2. The government has reviewed the Presentence Report

(the “PSR”), which properly calculates the total offense level to be 24 and the defendant’s criminal

history category to be III, resulting in a Guidelines range of 63–78 months. For the reasons

outlined below, the United States recommends that the Court impose a Guidelines sentence,

followed by a three-year term of supervised release. Such a sentence is sufficient, but not greater

than necessary, to accomplish the goals of sentencing.

       I.      RELEVANT BACKGROUND

       As recounted in the PSR and the Statement of Facts to which the defendant admitted, in

February 2021, Ford and his co-conspirator Jon Fleet (“Fleet”) conspired to commit armed

robberies of several businesses throughout the Eastern District of Virginia and the District of

Maryland. Docket Entries (“DEs”) 23 ¶ 1; 26 ¶ 16. Specifically, on February 21, 2021, Ford and

Fleet drove together to a Subway restaurant located in Largo, Maryland. DEs 23 ¶ 2; 26 ¶ 17.
 Case 1:23-cr-00010-LMB Document 28 Filed 04/18/23 Page 2 of 10 PageID# 123




Ford waited in Fleet’s car while Fleet entered the restaurant armed with a firearm. Id. After Fleet

had completed the robbery, Ford picked up Fleet in the car and the two fled the area together. Id.

Two days later, on February 23, 2021, Ford and Fleet walked into a Papa John’s restaurant located

in Falls Church, Virginia. DEs 23 ¶ 3; 26 ¶ 18. Fleet was carrying a firearm, which he pointed at

employees as he demanded that the cash register be opened. Id. Upon finding that the cash register

would not open, Ford and Fleet had an employee walk them to the back of the restaurant. Id.

Surveillance footage capturing the event shows the employee handing a bag with cash to Fleet,

who was still holding a firearm. After Fleet took the container, the employee can be seen gesturing

to Ford in a pleading fashion before walking back to the front of the store. Ford, who stayed at the

back of the restaurant for several more seconds, kept his hand on his waistband as though a firearm

was there. Id. Ford and Fleet then fled the restaurant on foot. Id.

       Ford was not always accompanied by Fleet when Ford attempted robberies. For instance,

on March 7, 2021, Ford entered the Marathon gas station located on Westphalia Road, in Upper

Marlboro, Maryland, brandished a sawed-off shotgun, and ordered the store clerk to give him

money. DEs 23 at 4; 26 ¶ 19. The clerk immediately dialed 911 while Ford pointed the shotgun

at him through an opening in the plastic partition separating the store from the cash register area.

Id. After several seconds, Ford fled the store on foot. Id.

       About two weeks later, on March 14, 2021, Fleet crashed his car—which Fleet and Ford

had used to flee the areas of the above-mentioned robberies—in Prince George’s County,

Maryland. DEs 23 at 5; 26 ¶ 20. From the scene of the car crash, law enforcement recovered the

sawed-off shotgun that Ford had used when he attempted to rob the Marathon gas station on March

7, 2021. Id. Based on law enforcement’s investigation, Ford and Fleet had modified the shotgun

together.




                                                 2
 Case 1:23-cr-00010-LMB Document 28 Filed 04/18/23 Page 3 of 10 PageID# 124




       Fleet was charged and arrested in this District pursuant to a criminal complaint on June 23,

2021. See United States v. Jon Fleet, 1:21-cr-192 (E.D. Va), ECF No. 1. After being indicted on

ten counts relating to five different robberies, on October 19, 2021, Fleet pled guilty to two counts

charging him with using, carrying, and brandishing a firearm during a crime of violence, in

violation of 18 U.S.C. § 924(c)(1)(A). Id. at ECF No. 27. He was later sentenced by this Court to

serve 17 years in prison, the minimum term mandated by statute. Id. at ECF No. 46.

       Ford was charged and arrested pursuant to a criminal complaint on December 14, 2022.

DE 1. Shortly thereafter, on January 13, 2023, Ford entered a pre-indictment guilty plea to a

criminal information charging him with Conspiracy to Commit Hobbs Act Robbery, in violation

of 18 U.S.C. § 1951(a), and Hobbs Act Robbery, in violation of 18 U.S.C. §§ 1951(a) and 2. DEs

19–23. Sentencing is scheduled for April 25, 2023.

       II.     OVERVIEW OF APPLICABLE LAW

       To determine an appropriate sentence, “[a] district court shall first calculate (after making

the appropriate findings of fact) the range prescribed by the [G]uidelines.” United States v.

Hughes, 401 F.3d 540, 546 (4th Cir. 2005). Next, “the court shall consider that range as well as

other relevant factors set forth in the [G]uidelines and those factors set forth in § 3553(a) before

imposing the sentence.” Id. Those factors include the nature and circumstances of the offense,

the history and characteristics of the defendant, and the need for the sentence to promote respect

for the law, provide just punishment, deter criminal conduct, protect the public, and avoid

unwarranted sentencing disparities. See 18 U.S.C. § 3553(a).

       Although the Guidelines are advisory and are only one of the factors listed in § 3553(a),

they assist the Court by “provid[ing] certainty and fairness in meeting the purposes of sentencing,

[while] avoiding unwarranted sentencing disparities.” United States v. Booker, 543 U.S. 200, 264




                                                 3
 Case 1:23-cr-00010-LMB Document 28 Filed 04/18/23 Page 4 of 10 PageID# 125




(2005) (internal quotation marks and citations omitted). Indeed, in the ordinary case, there will be

a significant amount of overlap between the Guidelines range and the remaining § 3553(a) factors,

because the Guidelines “reflect a rough approximation that might achieve § 3553(a)’s objectives.”

Rita v. United States, 551 U.S. 338, 350 (2007).

       For example, the Guidelines encompass the most salient aspects of “the nature and

circumstances of the offense” (by establishing an offense level that incorporates aggravating or

mitigating circumstances such as loss amounts, number of victims, and a defendant’s role in the

offense), as well as reflect “the history and characteristics of the defendant” (most notably by

establishing a criminal history category based on the defendant’s prior criminal record). 18 U.S.C.

§ 3553(a)(1). The Guidelines further help to prevent “unwarranted sentencing disparities” by

ensuring that defendants who have committed similar crimes and have similar criminal records

will receive roughly similar sentences, regardless of the district and courtroom in which they were

sentenced. Id. § 3553(a)(6); see also Gall v. United States, 552 U.S. 38, 46 (2007) (noting that the

guidelines are “the product of careful study based on extensive empirical evidence derived from

the review of thousands of individual sentencing decisions”). Thus, although the Guidelines are

not mandatory, they remain “the starting point and the initial benchmark” in ensuring fair and just

sentencing both for defendants, individually, and across multiple cases, collectively. Gall, 552

U.S. at 49. Ultimately, the sentence imposed must meet a standard of reasonableness. See Booker,

543 U.S. at 260–61.

       III.      SENTENCING ANALYSIS

              A. The PSR Properly Calculates Ford’s Guidelines Range at 63 to 78 months.

       Ford pled guilty to one count of Conspiracy to Commit Hobbs Act Robbery, in violation

of 18 U.S.C. § 1951(a), and one count of Hobbs Act Robbery, in violation of 18 U.S.C. §§ 1951(a)




                                                   4
 Case 1:23-cr-00010-LMB Document 28 Filed 04/18/23 Page 5 of 10 PageID# 126




and 2. The PSR correctly calculates Ford’s Base Offense Level as 20. DE 26 ¶ 30. Because Ford

possessed a firearm during the commission of his crime, a 5-point enhancement applies. Id. ¶ 31.

Pursuant to U.S.S.G. §§ 3D1.4(a), (b) and (c), the Combined Adjusted Offense Level is 27. Id. ¶

45. Because Ford has accepted responsibility within the meaning of U.S.S.G. § 3E1.1(a), he is

entitled to a two-level reduction, and the government has moved for the additional one-level

reduction pursuant to U.S.S.G. § 3E1.1(b). Id. ¶¶ 47–48. The PSR already reflects this three-level

reduction. Ford’s Total Offense Level is thus 24. Id. ¶ 49. Because Ford’s criminal history results

in a Criminal History Category III, the PSR correctly calculates his Guidelines range to be 63–78

months. Id. ¶ 99.

           B. Ford Is Not Entitled to a Mitigating Role Reduction.

       Ford’s counsel has objected to the PSR on the basis that Ford is entitled to a two, three, or

four level decrease pursuant to § 3B1.2, which calls for a 4-level decrease where the defendant

was a minimal participant, a 2-level decrease if he was a minor participant, or a 3-level decrease

if his behavior falls somewhere in between the two. As the probation officer correctly concluded

in the PSR’s Addendum, Ford is entitled to none of these reductions. See DE 26 at 25.

       Section 3B1.2 of the Sentencing Guidelines allows for a downward adjustment in offense

level “for a defendant who plays a part in committing the offense that makes him substantially less

culpable than the average participant.” U.S.S.G. § 3B1.2 cmt. n.3(A). The size of the adjustment

is directly proportional to the participant’s culpability. As the Application Notes to § 3B1.2

describe, a minimal participant is one who lacks “knowledge or understanding of the scope and

structure of the [criminal activity] and of the activities of others.” U.S.S.G. § 3B1.2 cmt. n.4. To

be entitled to the reduction, “a defendant must show by a preponderance of the evidence that his

role in the offense of conviction makes him substantially less culpable than the average




                                                 5
 Case 1:23-cr-00010-LMB Document 28 Filed 04/18/23 Page 6 of 10 PageID# 127




participant.” United States v. Hassan, 742 F.3d 104, 150 (4th Cir. 2014) (quotation marks and

citation omitted). The minimal participant reduction does not apply to Ford. As he admitted when

he pled guilty, Ford had full knowledge that a firearm would be used during each robbery and

attempted robbery—both by himself and by Fleet. See DEs 23 ¶ 7; 26 ¶ 22. Ford cannot now

credibly argue that he did not know or understand what Fleet was doing when Ford acted as Fleet’s

getaway driver at the robbery of Subway and when he physically entered the Papa John’s restaurant

with Fleet. Thus, Ford is not a minimal participant.

       Neither is Ford a minor participant, who is someone who is “less culpable than most other

participants in the criminal activity, but whose role could not be described as minimal.” U.S.S.G.

§ 3B1.2 cmt. n.5. The government does not dispute that Fleet was involved in a greater number

of armed robberies than Ford 1—after all, Fleet admitted to robbing five different businesses,

whereas Ford admitted to his involvement in the armed robbery of three businesses (one of which

was an attempt). However, “[t]he fact that some other accomplice may be more culpable than the

defendant does not necessarily mean that the defendant’s role in the offense is minor.” United

States v. Garcia-Ortiz, 657 F.3d 25, 29–30 (1st Cir. 2011); see also United States v. Guerrero-

Deleon, 713 F. App’x 163, 166 (4th Cir. 2017) (“[A] mitigating-role reduction ‘is not

automatically awarded to the least culpable conspirator.’” (quoting United States v. Hassan, 742

F.3d 104, 150 (4th Cir. 2014))).

       With regard to the robberies that he committed with Fleet, Ford knew that he was

participating in an armed robbery. He specifically admitted that he knew beforehand that Fleet

would use a firearm in the robberies of Subway and Papa John’s. Besides, Ford attempted to rob




       1
          Indeed, the government’s sentencing recommendations for each conspirator (17 years
for Fleet and between approximately five and six years for Ford) demonstrate this.


                                                6
 Case 1:23-cr-00010-LMB Document 28 Filed 04/18/23 Page 7 of 10 PageID# 128




the Marathon gas station on his own—although Fleet waited for him in the car, Ford entered the

gas station on his own, and pointed a sawed-off shotgun at a clerk. Moreover, Ford modified the

sawed-off shotgun together with Fleet and shared in the proceeds of the robberies. See U.S.S.G.

§ 3B1.2 cmt. n.3(C)(i) (counseling that “the degree to which the defendant stood to benefit from

the criminal activity” should be considered in determining an adjustment). Ford’s “understanding

of the scope, structure, and activities” of his conspiracy with Fleet indicates that his role was more

than merely minor. United States v. Reavis, 48 F.3d 763, 769 (4th Cir. 1995); see U.S.S.G. §

3B1.2 cmt. n.3(C)(i) (listing as a factor to be considered “the degree to which the defendant

understood the scope and structure of the criminal activity”).

       Because Ford is not entitled to a mitigating role reduction, the defendant’s objection to the

PSR should be overruled.

           C. The § 3553(a) Factors

       The Section 3553(a) factors in this case counsel in favor of imposing a sentence within the

63–78-month Guidelines range, to be followed by three years of supervised release.

       The defendant conspired with Fleet to rob commercial establishments in this and a

neighboring district while either he or Fleet was armed with a firearm. This is not a case of a

single, isolated incident, but rather of a course of criminal conduct planned and committed over at

least a month. None of the robberies or the attempted robbery that Ford committed took a notable

amount of time to undertake. To be sure, the timespan of many armed robberies is short since

robberies are, by their nature, designed that way by the perpetrators. Yet, while short in time, these

crimes rank among the most violent and leave lifelong scars for their victims. Fortunately, no one

was physically injured in any of these incidents, but the potential for violence was present at each

of them. This backdrop alone warrants a term of imprisonment within the Guidelines range.




                                                  7
 Case 1:23-cr-00010-LMB Document 28 Filed 04/18/23 Page 8 of 10 PageID# 129




       Ford’s criminal history includes unlawful firearm possession, drug possession and

distribution, and assault. 2 The defendant also has prior probation violations. Ford’s counts of

conviction, especially in light of his criminal history, demonstrate that he presents a danger to the

public. A Guidelines sentence will serve the necessary purpose of protecting the public from him

and send a message to others that there are severe repercussions for committing or conspiring to

commit armed robberies.

       Finally, a Guidelines sentence will not result in an unwarranted sentence disparity.

Although Fleet was sentenced to 17 years in prison, his level of culpability and criminal history

(which qualified him as a Career Offender) was more extensive than Ford’s. The government’s

recommended sentence takes account Ford’s level of culpability and would account for the

similarities and differences between Ford and Fleet.

       [Continued on next page.]




       2
         As described in the PSR, the details of Ford’s 2011 assault conviction are particularly
troubling, and they underscore the reality of possible violence when the defendant is armed with
a firearm.


                                                 8
 Case 1:23-cr-00010-LMB Document 28 Filed 04/18/23 Page 9 of 10 PageID# 130




       IV.    CONCLUSION

       The Guidelines are properly calculated in this case and appropriately reflect the

considerations mandated by the 18 U.S.C. § 3553(a).        For that reason, the United States

respectfully recommends that the Court impose a Guidelines sentence of 63–78 months’

imprisonment, followed by a three-year term of supervised release.


                                                   Respectfully submitted,

                                                   Jessica D. Aber
                                                   United States Attorney

                                            By:           /s/
                                                   Cristina C. Stam
                                                   Bibeane Metsch
                                                   Assistant United States Attorneys
                                                   United States Attorney’s Office
                                                   2100 Jamieson Avenue
                                                   Alexandria, Virginia 22314
                                                   Tel: (703) 299-3700
                                                   Fax: (703) 299-3982
                                                   Cristina.stam@usdoj.gov
                                                   Bibeane.metsch@usdoj.gov




                                               9
Case 1:23-cr-00010-LMB Document 28 Filed 04/18/23 Page 10 of 10 PageID# 131




                                CERTIFICATE OF SERVICE

       I certify that on April 18, 2023, I electronically filed a copy of the foregoing with the

Clerk of the Court using the CM/ECF system, which will send a notification of such filing to all

counsel of record.



                                                             /s/
                                                      Cristina C. Stam
                                                      Assistant United States Attorney




                                                10
